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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

ILLINOIS NATIONAL INSURANCE
COMPANY, an Illinois corporation,

                 Plaintiff,                              Case No.

                                                         Hon.
V.

ALIXPARTNERS LLP, a Michigan limited
liability partnership,

                 Defendant.

_______________________________________/

                                          COMPLAINT

         Plaintiff, Illinois National Insurance Company (“Illinois National”) sues Defendant,

AlixPartners LLP (“Alix”) for recoupment of defense expenses and settlement funds advanced to

Alix and for reformation of its insurance policy with Alix. In support, Illinois National states:

                                          INTRODUCTION

         1.      The basis for this Complaint is the payment by Illinois National on behalf of its

insured, Alix, of over $19 million1 in connection with a claim brought by Kingsbridge Capital

Management GP Limited (“Kingsbridge”). Illinois National made the payment while reserving

all of its rights, including the right to recoup any payments made.

         2.      The claim was first made in writing against Kingsbridge on March 7, 2008, but it

was not reported to Illinois National as required under Alix’s then-current policy with Illinois

National (hereinafter, “Policy 1”). On March 7, 2008, Alix received a written settlement demand

for money from Kingsbridge in an attempt to resolve a dispute with Kingsbridge (hereinafter, the

1
    The policy limit was $20,000,000. Approximately $900,000 was paid on an unrelated claim.



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“Claim.”). This written demand for money constituted a Claim under Alix’s policy with Illinois

National.

        3.       Alix did not report the Claim to Illinois National as required for coverage under

Policy 1.

        4.       Despite its knowledge of the Claim, Alix continued to negotiate a policy renewal

with Illinois National, including negotiations to remove certain exclusions from the policy which

were included in Policy 1. Alix did not disclose any information regarding its dispute with

Kingsbridge during the renewal process.

        5.       Unaware of the existence of the Claim, Illinois National agreed to remove an

“Investment Advisor” exclusion from the renewed policy (hereinafter, “Policy 2”) that would

have barred coverage for the Claim. Subsequently, Alix also obtained an endorsement amending

a securities exclusion (the “Securities Exclusion”) which would likewise have barred the Claim.

        6.       The dispute between Alix and Kingsbridge lingered for months. Kingsbridge

continued to reassert its Claim against Alix and the dispute was reported in the press in

Germany. On July 22, 2009, Kingsbridge served a draft arbitration complaint against Alix which

reasserted the Claim (hereinafter, the “Arbitration”).

        7.       On August 14, 2009—over seventeen months after the Claim was first made—

Alix first reported the Claim to Illinois National by forwarding the draft arbitration complaint.

Although Policy 2 had expired, the policy included an Automatic Extended Reporting Period

(hereinafter, the “Extended Reporting Period”). However, the Extended Reporting Period only

provided coverage for claims first made during the Extended Reporting Period.

        8.       Illinois National was unaware that the Claim had been first made during the

policy period for Policy 1. Because Illinois National was led to believe the Claim was first made



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during the Extended Reporting Period for Policy 2, it paid for Alix’s defense of the Arbitration

under Policy 2.

        9.       In October 2011, the arbitration panel issued a decision against Alix for roughly

$17,000,000 (or €13,080,362), plus substantial pre-judgment interest.

        10.      Following the decision, Alix made several motions to the arbitration panel and

filed an appeal.

        11.      On January 4, 2013, Alix disclosed documents to Illinois National which finally

revealed that the Claim was first made on March 7, 2008.

        12.      On January 31, 2013, Illinois National agreed to fund the $18.5 million settlement

of the Arbitration, but reserved its right to recoup defense costs and settlement funds. Illinois

National now seeks to assert those rights.

        13.      Because the Claim was first made during the policy period for Policy 1 but not

reported during the policy period for Policy 1, it is not covered under Policy 1. Moreover, had

the Claim been timely reported under Policy 1, the exclusions in that policy would have

precluded coverage.

        14.      Even if the March 7, 2008 written demand is not considered the first assertion of

the Claim (which it was), Kingsbridge continued to assert the Claim during the policy period for

Policy 2. Alix did not report the Claim until after Policy 2 expired and during the Extended

Reporting Period.          However, the Extended Reporting Period only applies to claims first made

during the Extended Reporting Period.           Because the Claim was not first made during the

Extended Reporting Period, the Claim is not covered under Policy 2. Accordingly, Illinois

National is entitled to recoupment of $19.1 million in uncovered settlement and defense costs.




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        15.      In the alternative, Illinois National seeks to reform Policy 2 based on Alix’s

inequitable conduct during the application, issuance and May 2008 amendment of Policy 2. As

set forth more fully below, Alix failed to disclose any information regarding the dispute with

Kingsbridge, including the existence of the Claim.           This enabled Alix to obtain favorable

modifications to the renewed policy which created potential coverage for the previously

excluded Claim.

                                JURISDICTION, VENUE, AND PARTIES

        16.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a)

because there is complete diversity of citizenship and the amount in controversy exceeds

$75,000, exclusive of interest and costs.

        17.      Illinois National is an Illinois corporation with its principal place of business in

New York, New York.

        18.      Alix is a Michigan limited liability partnership with its principal place of business

in Southfield, Michigan.

        19.      This Court has personal jurisdiction over Alix because its principal place of

business is within this District.

        20.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because Alix

resides within this District and is subject to personal jurisdiction in this District.

                    ILLINOIS NATIONAL ISSUES THE 2006-2008 POLICY TO ALIX

        21.      Policy 1 is a Miscellaneous Professional Liability Policy Illinois National issued

to Alix for the period of October 12, 2006 to March 15, 2008 with the aggregate limit of liability

of $20 million. A copy of Policy 1 is attached as Exhibit A.

        22.      Policy 1 states:



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                 Notice: This is a Claims Made Policy. Except to such extent as
                 may otherwise be provided herein, the coverage of this policy is
                 limited to liability for only those claims that are first made against
                 [Alix] and reported in writing to [Illinois National] during the
                 Policy Period.

Exhibit A at p. 1 (capitalization omitted).

ALIX AND KINGSBRIDGE BEGIN THEIR DISPUTE AND KINGSBRIDGE MAKES VERBAL DEMANDS

        23.      While Policy 1 was in effect, Alix entered into a contractual relationship with an

investment firm known as Kingsbridge.2

        24.      Kingsbridge is a European private equity company which specializes in

restructuring projects.

        25.      Kingsbridge engaged Alix to perform due diligence in connection with

Kingsbridge’s proposed acquisition of a German model railway manufacturer known as Märklin.

Alix’s duties also included preparing an investment case and developing a plan for the

restructuring of the company.

        26.      Some of the core tasks within the scope of Alix’s due diligence were analyzing

Märklin’s production capabilities, identifying potential savings and evaluating the market for

Märklin’s products.

        27.      In May 2006, allegedly based on its reliance on Alix’s advice, Kingsbridge

acquired Märklin.

        28.      Kingsbridge’s investment in Märklin took a turn for the worse during the second

half of 2007.




2
 In this Complaint, “Kingsbridge” collectively refers to the underlying claimant Kingsbridge
Capital Management GP2 Limited and its predecessor-in-interest, Kingsbridge Capital
Management GP Limited.

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        29.      As Alix later admitted in the Arbitration proceeding, on December 19, 2007,

Kingsbridge’s nominee on Märklin’s advisory board “raised serious accusations against the

representatives of [Alix] and requested them to return part of their consulting fees.” See Alix’s

Answer to Arbitration Complaint, an excerpt of which is attached hereto as Exhibit B.

        30.      Accordingly, Alix was fully aware that Kingsbridge was seeking monetary

damages as early as December 2007. This verbal demand was not disclosed to Illinois National.

                           KINGSBRIDGE MAKES THE CLAIM AGAINST ALIX

        31.      Just two and half months later, Kingsbridge made a written demand for money

against Alix. On March 7, 2008, Kingsbridge’s designee on Märklin’s advisory board (Michel

Perraudin) wrote a letter to Alix, an English translation of which is attached as Exhibit C

(hereinafter, the “March 7, 2008 Letter”).     Upon information and belief this was the first

assertion of the Claim.

        32.      The March 7, 2008 Letter aired the grievances of both Kingsbridge (as investor)

and Märklin (as the restructured company). However, it was clear that it was the concerns of

Kingsbridge regarding Alix’s investment advice that were central to the Claim.

        33.      Kingsbridge reiterated the fears it had orally communicated to Alix in December

2007: Kingsbridge’s investment in Märklin had not lived up to the investment advice presented

by Alix.

        34.      Perraudin began the letter by stating that “[w]ith preliminary approval of

Märklin’s 2007 annual financial statements, our fears have unfortunately been confirmed.” See

Exhibit C at p.1.

        35.      Perraudin noted that Märklin’s Earnings Before Interest, Taxes Depreciation and

Amortization (EBITDA) were “€5.8 million lower than in the investment case presented by



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[Alix]” and that the “debt level of “€69 million is more than €25 million higher than planned.”

Id.

        36.      Perraudin explained the significance of these figures:

                 This means the Kingsbridge and Goldman Sachs investment has
                 suffered a significant loss in value, and an exit in the near term
                 hardly seems possible.


        37.      The “exit” from the investment expressed in the letter was clearly a concern for

Kingsbridge, not Märklin.

        38.      After describing the alleged damage to Kingsbridge, Perraudin shifted his focus to
Alix:

                 Was Alix Partners too optimistic in its planning and were the plans
                 unachievable? Was the implementation too timid and poorly
                 managed? How did this happen? Who is at fault?

        39.      The letter leaves no doubt that the blame is put squarely on Alix’s investment

advice. Because Alix “conducted the commercial due diligence, put together the investment

case, defined the restructuring program and played an advisory role in its implementation, and

who furthermore filled the key positions of CEO, CFO, and CRO as managing directors or

general managers over an extended period,” Perraudin stated that the consultants at Alix

“certainly bear a very substantial share of the fault.” Id. (emphasis added).

        40.      The letter makes a pre-litigation demand. It states that “[i]n the interests of

avoiding a protracted conflict that would prove time-consuming and detrimental to all parties, we

would appreciate it if AlixPartners would voluntarily waive a portion of its remuneration and

success fees for 2006/2007 and its capital gain participation.” See Exhibit C at p. 2.

        41.      The capital gain participation demanded by Perraudin had been contingent upon a

“successful exit” for Kingsbridge. This successful exit was the sole concern of Kingsbridge, not

Märklin.

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        42.      Overall, this proposal demanded from Alix €3 million in consulting fees that had

already been paid, €1.1 million in already-paid success fees, and approximately €2.2 million in

success fees that had yet to be paid for a total of approximately €6 million. Id.

        43.      The letter concludes by clarifying that it was making a settlement demand and

saying “[w]e hope you will accept this proposal.” Id.

        44.      Upon information and belief, the March 7, 2008 Letter was the first time

Kingsbridge asserted the Claim.3 It was a written demand for money arising out of Alix’s alleged

failures in preparing the investment case and performing due diligence. It demanded fees, such

as fees contingent on Kingsbridge’s successful exit, which were clearly related to Kingsbridge’s

investment and Alix’s role in advising Kingsbridge to make the investment.

        45.      Negotiations between the parties continued. On April 21, 2008, Alix responded

to the March 7, 2008 Letter and noted that “[a]s it is our intention to finally resolve this situation,

I had indicated to you that we would gladly discuss our agreements with [Kingsbridge].” An

English translation of the April 21, 2008 letter is attached as Exhibit D.

        46.      Just two days later, in a letter dated April 23, 2008, Kingsbridge responded by

stating that Alix “based on its own commercial due diligence, has built up a mid-term planning

and an investment case which is clearly unrealistic.” Perraudin reasserted the Claim and made

clear that he was speaking for the aggrieved investors. According to Perraudin, the shareholders

“had to write off part of their investment and to provide an unplanned additional financing of

approximately €20 million, to which another €10 million will have to be added” while Alix “has

already cashed in close to € 7 million.” An English translation of the April 23, 2008 letter is

attached as Exhibit E.


3
 Illinois National reserves the right after discovery to amend the Complaint if it finds that
Kingsbridge had made other earlier written demands.

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                              ALIX NEGOTIATES FOR A RENEWAL OF THE POLICY

        47.      Even as Kingsbridge and Märklin were making verbal and written demands, Alix

continued its negotiation with Illinois National for a renewal of its professional liability coverage

under Policy 1.

        48.      Alix did not disclose the Claim or provide any notice of the dispute with

Kingsbridge to Illinois National at any point during the renewal negotiations.

        49.      The       Miscellaneous   Professional   Liability   Renewal    Application    (the

“Application”) noted that: “[a]ny person who knowingly and with intent to defraud any

insurance company…files an application for insurance…[that] conceals, for the purpose of

misleading, information concerning any fact material thereto, commits a fraudulent act, which is

a crime and subjects such person to criminal and civil penalties. “ See Application, a copy of

which is attached as Exhibit F (capitalization omitted).

        50.      Alix knew that the information regarding the Claim was material, but knowingly

omitted that information from the Application.

        51.      Illinois National agreed to renew Alix’s policy and issued Policy 2, a

Miscellaneous Professional Liability Policy to Alix for the period of March 15, 2008 to June 30,

2009 with the aggregate limit of liability of $20 million. A copy of Policy 2 is attached as

Exhibit G.

        52.      Policy 2, like Policy 1, is a “claims made” insurance policy. The policy provides

coverage for “damages resulting from a claim first made against [Alix] and reported to [Illinois

National] during the Policy Period or Extended Reporting Period…for [Alix’s alleged] wrongful

act in rendering or failing to render professional services for others.” See Exhibit F, § I.A,

Insuring Agreement (emphasis added).



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          53.      Endorsement #16 of Policy 2 defines “Claim” as “a written demand for money or

services, including a suit, arising from [Alix’s] wrongful act.” Id.

          54.      Policy 2 defines “Wrongful act” as “any actual or alleged negligent act, error or

omission, misstatement or misleading statement committed solely in [Alix’s] performance of

[management consulting and/or advisory services]…” Id., II.Q and Endorsement #1.

          55.      Policy 1 had contained a specific exclusion for claims arising from “investment

advice.”        (the “Investment Advisor Exclusion”)     See Exhibit A at Endorsement #16. This

exclusion provided that Illinois National would not cover claims arising out of, among other

things:

                   IA-C. an insured providing investment advice, or selecting an
                         investment manager, investment advisory or custodial firm;


          Id. (emphasis added).

          56.      In Policy 2, Alix obtained removal of the Investment Advisor Exclusion. See

Exhibit F. Without the removal of the Investment Advisor Exclusion, the Claim against Alix

would clearly have been excluded from coverage.

          57.      Further, on or about May 6, 2008 — nearly two months after the Claim was first

made and at least five months after Alix became aware of Kingsbridge’s demands— Alix sought

and obtained a modification to the Securities Exclusion.

          58.      Policy 2 originally excluded any claim arising out of “the purchase, sale, or offer

or solicitation of an offer to purchase or sell securities.” Exhibit F at Exclusion III.D. Alix—

with full knowledge of the ongoing dispute over Kingsbridge’s purchase of Märklin’s shares—

obtained an endorsement in May 2008 that limited this exclusion to “any purchase, sale or offer




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or solicitation of an offer to purchase or sell [Alix’s] securities.” See Exhibit F at Endorsement

#25 (emphasis added).

        59.      The Claim made by Kingsbridge in the March 7, 2008 Letter was based on

Kingsbridge’s dissatisfaction with Alix’s investment advice to Kingsbridge which led to its

purchase of Märklin’s securities.

        60.      Absent the amendment obtained by Alix while it knew of the Claim, the Security

Exclusion would have barred coverage for the Claim.

        61.      Illinois National had no knowledge of the Claim when it agreed to the

modifications to coverage.

                            KINGSBRIDGE TAKES DISPUTE TO PRESS
                       AND MAKES ADDITIONAL DEMANDS DURING POLICY 2

        62.      Upon information and belief, after the March 7, 2008 Letter and during the period

covered by Policy 2, Kingsbridge continued to make demands against Alix based on Alix’s

negligent due diligence and preparation of an investment case for the acquisition of Märklin.

        63.      These demands were not reported or disclosed to Illinois National.

        64.      On March 2, 2009, a Kingsbridge representative reasserted the allegations of the

Claim to the German web site Spiegel Online. He said Kingsbridge was “not satisfied with the

service” and that the “state of Märklin in 2006 was much worse than was portrayed to us.” An

English translation of the March 2, 2009 article is attached as Exhibit H.

                           ALIX CHOOSES NOT TO RENEW THE POLICY

        65.      On June 30, 2009, Alix elected not to renew its policy with Illinois National. Alix

had still not reported the Claim.




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        66.      However, Endorsement #9 to Policy 2 provided for a period of sixty (60) days in

which Alix could give notice to Illinois National of “claims first made against [Alix] during the

Automatic Extended Reporting Period.” See Exhibit F at Endorsement #9 (emphasis added).

        67.      Accordingly, the Extended Reporting Period did not apply to any claim that had

been first made prior to the expiration of Policy 2.

        68.      The claim had been first made prior to the existence of Policy 2, and not during

the Extended Reporting Period. Thus, the Claim was clearly not covered during the Extended

Reporting Period.

                KINGSBRIDGE REASSERTS THE CLAIM BY DEMANDING ARBITRATION

        69.      On July 22, 2009, Kingsbridge’s counsel delivered a draft arbitration complaint to

Alix’s counsel (hereinafter, the “Draft Complaint.”) A copy of the Draft Complaint is attached

as Exhibit I.

        70.       The Draft Complaint merely reiterated the Claim first made in the March 7, 2008

Letter. Namely, the Draft Complaint contained causes of action for breach of contract, breach of

fiduciary duty and gross negligence in Alix’s performance of due diligence and preparation of an

investment case for Kingsbridge’s proposed investment in Märklin.

        71.      Kingsbridge had already made the Claim contained in the Draft Complaint during

the period for Policy 1. In Perraudin’s March 7, 2008 Letter, Kingsbridge demanded millions of

Euros in fees for, among other things, Alix’s role in “conduct[ing] the commercial due diligence”

and “put[ting] together the investment case” for the failed investment in Märklin. See Exhibit C.

        72.      The allegations about Alix’s negligence in due diligence and preparing the

investment case contained in the Draft Complaint were a mere repetition of the allegations made




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in the March 7, 2008 Letter. Thus, the claim made in the Draft Complaint was the same Claim

first made during Policy 1.

        73.      However, as discussed above, Alix never reported the Claim made in the March 7,

2008 Letter to Illinois National.

              ALIX REPORTS THE CLAIM DURING THE EXTENDED REPORTING PERIOD

        74.      On August 14, 2009, Alix’s broker Marsh reported the existence of the Draft

Complaint to Illinois National.

        75.      Policy 2 had expired on June 30, 2009. However, Alix stated that it was reporting

the Draft Complaint pursuant to Policy 2’s sixty-day Extended Reporting Period for “claims first

made against [Alix] during the Automatic Extended Reporting Period.”             See Exhibit F at

Endorsement #9 (bolding omitted).

        76.      The Claim was not first made during the Extended Reporting Period and therefore

could not have been properly reported on August 14, 2009.

        77.      As set forth above, the Claim was first made against Alix, at the latest, on March

7, 2008. Further, Kingsbridge continued to assert the Claim during Policy 2 but before the

Extended Reporting Period. Therefore, the Draft Complaint was not a claim “first made against

[Alix] during the Automatic Extended Reporting Period” and could not be reported under Policy

2 on August 14, 2009.

        78.      Nonetheless, Illinois National remained unaware of the prior assertions of the

Claim that Alix never reported to Illinois National.




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                ILLINOIS NATIONAL RESERVES ITS RIGHTS AND REQUESTS INFORMATION

          79.      On September 9, 2009, Illinois National sent a letter to Alix reserving its rights

regarding, among other things, “whether the delivery of the Draft Complaint to Alix is the first

time the claim contained in the Draft Complaint was made.”

          80.      In order to assist with this determination, Illinois National requested a copy of a

November 14, 2008 letter from Kingsbridge’s counsel to Alix and all other written

communications between Alix and Kingsbridge with respect to the Claim. A copy of the

September 9, 2009 Letter is attached as Exhibit J.

          81.      Alix failed to provide Illinois National with a copy of the November 14, 2008

letter.

          82.      Under the Extended Reporting Period of Policy 2, Illinois National was not

obligated to provide coverage unless a claim was not covered under any subsequent insurance

purchased by Alix.

          83.      On August 10, 2010—after being notified that Alix’s subsequent insurer denied

coverage of the claim made in the Draft Complaint—Illinois National sent a letter finding there

was potential coverage for the Draft Complaint under Policy 2 subject to a reservation of rights.

This reservation incorporated all rights reserved in Illinois National’s September 2009 letter,

including its right to investigate whether the delivery of the Draft Complaint to Alix was the first

time the Claim contained in the Draft Complaint was made. A copy of the August 10, 2010

Letter is attached as Exhibit K.

          84.      Illinois National further noted that it had “not yet received the November 2008

letter from [Kingsbridge’s counsel] we requested in the [September 9, 2009 Letter]. We renew

our request for a copy of that letter translated into English.”



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        85.      Subject to the reservation of rights, Illinois National advanced Alix’s defense

costs in the Arbitration pursuant to Policy 2.

               THE ARBITRATION PANEL RULES IN FAVOR OF KINGSBRIDGE
     AND ILLINOIS NATIONAL DISCOVERS THAT CLAIM HAD BEEN MADE UNDER POLICY 1

        86.      Illinois National encouraged Alix to reach out to Kingsbridge’s counsel regarding

settlement on May 10, 2011. Alix resisted based on, among other things, its concerns about

negative publicity.

        87.      In October 2011, the arbitration panel issued a decision in favor of Kingsbridge

for damages in the amount of €13,080,362, plus significant pre-judgment interest.

        88.      As settlement discussions continued, Illinois National had still never received the

November 2008 letter it had demanded from Alix almost a year earlier. Illinois National again

asked Alix for the letter, which it finally received on December 7, 2012. The November 2008

letter identified a “Kingsbridge v. Alix” dispute and referenced prior communications about

Alix’s failures in due diligence. An English translation of the November 2008 letter is attached

as Exhibit L.

        89.      Illinois National continued to investigate the Claim until, on January 4, 2013, Alix

finally provided copies of the March 7, 2008 Letter and other communications which revealed

that the Claim had been first made during the policy period for Policy 1.

        90.      Because the Claim was first made during the period covered by Policy 1 and not

reported until the Extended Reporting Period for Policy 2, it was not covered under either of the

policies.4




4
  Illinois National further notes that the Claim would not be covered under Policy 1 due to the
existence of the Investment Advisor exclusion and the Securities Exclusion. See Exhibit A at
III.D and Endorsement #16.

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                        THE PARTIES SETTLE AND ILLINOIS NATIONAL
                FUNDS THE SETTLEMENT SUBJECT TO A RESERVATION OF RIGHTS

        91.      Illinois National promptly alerted Alix to the coverage issues arising from the

Claim being first made during Policy 1. A copy of the January 11, 2013 letter is attached as

Exhibit M.

        92.      As the parties exchanged coverage correspondence, Alix agreed to settle with

Kingsbridge for €13,750,000.

        93.      On January 30, 2013, Illinois National agreed to fund the settlement subject to its

reservation of rights. These rights included Illinois National’s right to recoup funds that were not

covered under the policies. A copy of Illinois National’s letter is attached as Exhibit N.

        94.      In February 2013, Illinois National paid the remainder of its policy limits

($18,507,861.92) to fund the settlement subject to a reservation of rights.

              ILLINOIS NATIONAL IS ENTITLED TO RECOUP THE UNCOVERED FUNDS

        95.      As discussed above, Alix received the Claim during a prior policy period but did

not report the Claim to Illinois National until it had negotiated for additional, and more

favorable, coverage.

        96.      Illinois National reserved its right to determine whether the claim was first made

during Policy 2 and repeatedly requested a November 14, 2008 letter from Kingsbridge’s

counsel, and any other communications which would shed light on the timing of when the Claim

was first made.

        97.      Once it received the letter and conducted follow-up investigation, including its

discovery of the March 7, 2008 Letter, Illinois National determined that the Claim was first made

during the period for Policy 1.




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        98.      Even if the Claim was not first made during Policy 1 (which it was), it was

alternatively made during Policy 2 and before the Extended Reporting Period for Policy 2.

Under either theory, Alix is not entitled to coverage for the Claim first reported to Illinois

National on August 14, 2009.

        99.      In the alternative, Illinois National asks the Court to reform Policy 2 to reflect the

intent of Illinois National. Even though Alix was aware of Kingsbridge’s demands since at least

December 19, 2007, Alix never disclosed the verbal demands to Illinois National. Further, Alix

never disclosed the written demand in the March 7, 2008 Letter to Illinois National. Instead, it

negotiated a renewal with unclean hands and obtained favorable modifications to Policy 2. Due

to Alix’s non-disclosure, Illinois National eliminated or modified exclusions that would have

barred the Claim. Accordingly, equity requires that the Court reform Policy 2 to remove the

amendment to the Securities Exclusion and reinstate the Investment Exclusion. This reformation

would bar coverage for the Claim.

        100.     Accordingly, Illinois National is entitled to recoup the $18,507,861.92 in

settlement funds as well as the $592,138.08 it advanced in defense expenses on behalf of Alix

under Policy 2, plus interest from the date of each payment.

                                     COUNT I
                             DECLARATORY JUDGMENT
                    THAT CLAIM WAS FIRST MADE BEFORE POLICY 2

        101.     Illinois National repeats and realleges the allegations contained in the paragraphs

above as if set forth fully herein.

        102.     Illinois National has performed all conditions required on its part by Policy 2.

        103.     Illinois National advanced $592,138.08 in defense expenses for the Kingsbridge

Arbitration.



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        104.     Illinois National also advanced its remaining policy limits — $18,507,861.92 —

in settlement funds to Alix for the Arbitration.

        105.     Policy 2 is a “claims made” policy that covers “damages resulting from a claim

first made against [Alix] and reported to [Illinois National] during the Policy Period or Extended

Reporting Period…for [Alix’s alleged] wrongful act in rendering or failing to render professional

services for others.”

        106.     A Claim is defined in Policy 2 as “a written demand for money or services,

including a suit, arising from your wrongful act.” (Bolding omitted).

        107.     The Claim was first made on March 7, 2008 but was not reported until August 14,

2009.

        108.     Therefore, the Claim was first made during the policy period for Policy 1 but was

not reported during the policy period for Policy 1. The Claim was reported during the Extended

Reporting Period for Policy 2 but was not a claim first made during the Extended Reporting

Period for Policy 2.

        109.     Accordingly, Illinois National seeks a judicial determination by this Court that

Alix is required to repay the defense expenses and settlement funds in the amount of

$19,100,000 that Illinois National advanced to it for the Arbitration, plus interest from the date of

each payment.

        110.     Unless the respective rights of Kingsbridge and Illinois National are declared by

this Court, Illinois National will be deprived of its right to recoupment and Kingsbridge will be

permitted to retain funds to which it is not entitled.

        111.     Illinois National has no adequate remedy at law.




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                   COUNT II – DECLARATORY JUDGMENT
                   THAT CLAIM WAS FIRST MADE BEFORE
            AUTOMATIC EXTENDED REPORTING PERIOD FOR POLICY 2

        112.     Illinois National repeats and realleges the allegations contained in the paragraphs

above as if set forth fully herein.

        113.     Illinois National has performed all conditions required on its part by Policy 2.

        114.     Illinois National advanced $592,138.08 in defense expenses for the Kingsbridge

Arbitration.

        115.     Illinois National also advanced its remaining policy limits — $18,507,861.92 —

in settlement funds to Alix for the Kingsbridge Arbitration.

        116.     Policy 2 is a “claims made” policy that covers “damages resulting from a claim

first made against [Alix] and reported to [Illinois National] during the Policy Period or Extended

Reporting Period (if applicable)…for [Alix’s alleged] wrongful act in rendering or failing to

render professional services for others.”

        117.     Policy 2 expired on June 30, 2009.

        118.     The sixty-day Extended Reporting Period for Policy 2 only applied to “claims

first made against [Alix] during the Automatic Extended Reporting Period for any wrongful act

occurring prior to the end of the policy period and otherwise covered by this policy.” See

Exhibit F at Endorsement #9 (emphasis omitted).

        119.     Even if the Claim was not made during Policy 1, as Illinois National asserts, it

was made during the policy period for Policy 2, and no later than on the date of the March 2,

2009 Spiegel Online article.




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        120.     Upon information and belief, Kingsbridge made the Claim against Alix during

Policy 2 but before the Extended Reporting Period.

        121.     The Claim was reported during the Extended Reporting Period for Policy 2 but

was not a claim first made against Alix during the Extended Reporting Period for Policy 2.

        122.     Accordingly, Illinois National seeks a judicial determination by this Court that

Alix is required to repay the $19,100,000 in defense expenses and settlement funds that Illinois

National advanced to it for the Arbitration, plus interest from the date of each payment.

        123.     Unless the respective rights of Kingsbridge and Illinois National are declared by

this Court, Illinois National will be deprived of its right to recoupment and Kingsbridge will be

permitted to retain funds to which it is not entitled.

        124.     Illinois National has no adequate remedy at law.

                             COUNT III – REFORMATION

        125.     Illinois National repeats and realleges the allegations contained in the paragraphs

above as if set forth fully herein.

        126.     As alternative relief to the relief requested in Counts I and II, Illinois National

seeks to reform Policy 2.

        127.     Kingsbridge first made verbal demands against Alix as early as December 19,

2007. Kingsbridge memorialized this demand in writing on March 7, 2008.

        128.     The negotiations regarding the dispute between Alix and Kingsbridge continued,

as was reported in the German press.

        129.     Alix did not disclose the existence of the dispute at any point during the

application, issuance and amendment of Policy 2. Indeed, the dispute was not disclosed to

Illinois National until the submission of the Draft Complaint more than a year later.



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        130.     Illinois National and Alix executed Policy 2.

        131.     Policy 2 did not contain the “Investment Advisor Exclusion Endorsement” that

had been included in Policy 1. This exclusion would have barred coverage for the Arbitration.

        132.     Alix also failed to disclose any aspect of the dispute with Kingsbridge while

seeking—and obtaining—a May 2008 amendment to the Securities Exclusion that enabled

coverage for the Arbitration.

        133.     Alix had unclean hands when it requested the modifications in coverage for

Policy 2 in light of its knowledge of the dispute with Kingsbridge and its withholding of that

information from Illinois National.

        134.     Policy 2 fails to reflect the true intent of Illinois National in that it does not

account for the pre-existing dispute with Kingsbridge.

        135.     The above-described failure of Policy 2 to reflect Illinois National’s true intent

resulted from Alix’s material omissions and inequitable conduct in failing to disclose the

existence of its dispute with Kingsbridge.

        136.     Without knowledge of the true facts and in reliance on Alix’s representations,

Illinois National was misled into signing writings that it would not have signed had it known the

true facts. These writings include both Policy 2 (as originally issued) and the amended Securities

Exclusion.

        137.     If the true facts had been known to Illinois National, it would not have agreed to

modify and/or remove several exclusions without specifically excluding Alix’s dispute with

Kingsbridge.

        138.     Illinois National is entitled to a judgment declaring that Policy 2 is reformed to

include all of the exclusions contained in Policy 1, and thus to exclude the Claim.



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        WHEREFORE, Illinois National requests Judgment in its favor and against Alix as

follows:

        (1)      A declaration that Alix is not entitled to coverage under Policy 1 or Policy 2 for

any claim based on its dispute with Kingsbridge, including the arbitration of said dispute, and

that Illinois National is entitled to recoup, and Alix is required to repay the $19,100,000 in

defense expenses and settlement funds that Illinois National advanced to it, plus interest, as the

Claim was first made during Policy 1 but not reported under Policy 1; or, in the alternative:

        (2) a declaration that Alix is not entitled to coverage under Policy 1 or Policy 2 for any

claim based on its dispute with Kingsbridge, including the arbitration of said dispute, and that

Illinois National is entitled to recoup, and Alix is required to repay the $19,100,000 in defense

expenses and settlement funds that Illinois National advanced to it, plus interest, as the Claim

was made during Policy 2 before the Extended Reporting Period but was not reported until the

Extended Reporting Period; or, in the alternative:

        (3)      a judgment declaring that Policy 2 is reformed to include all exclusions from

Policy 1 and to exclude the Arbitration from coverage, and ordering Alix to repay the

$19,100,000 advanced by Illinois National, plus interest; and

        (4)      For such other and further relief as the Court deems just and appropriate.




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                               Respectfully submitted,


                               CLARK HILL PLC



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